Case 2:04-md-01551-.]DB-tmp Document 161 Filed 08/02/05 Page 1 of 11 Page|D 110

IN THE UNITED sTArEs DisrRrCT CoURT lnuic) sr riffe-031
FoR THE WEsTERN nisTRrCT oF TENNEssEE ,:_ ha
WESTERN DIvrsroN 05 £\UG -2 PH s-
af=-;tas it GQU\D
m re - / ata<,"iis. asa_f`»i CQURT
Master F lie No. MDL 1551 W@ G§; 1_‘;. st ;_i.g;t*i\;_{J§-§b

RECIPROCAL OF AMERICA (ROA)
SALES PRACTICES LITIGATION This Document Relates to:
Civil Action No. 04-2313

 

ORDER GRANTING MOTION OF DEFENDANTS
RICHARD WITKOWSKI AND ATLANTIC SECURITY, LTD.
TO DISMISS FOR LACK OF PERSONAL JURISDICTION

 

Before the Court in this multi-district litigation is the motion of the Defendants, Richard
Witkowski and Atlantic Security, Ltd. (“ASL”), to dismiss this action pursuant to Rule 12(‘0)(2) of
the F ederal Rules of Civil Procedure. Based on a review of the docket, no response has been filed
by Plaintiff, and the allowed time period for his response has passedl

The Plaintiff, Alfred W. Gross, Commissioner of Insurance, Bureau of lnsurance, State
Corporation Commission of the Commonwealth of Virginia (“the Commissioner”), as Deputy
Receiver of Reciprocal of America (“ROA”) and The Reciprocal Group (“TRG”), states in his
Complaint that ROA is a Virginia unincorporated association and reciprocal insurer Which provides
insurance to hospita]s, physicians, and lawyers, as Well as reinsurance coverage to, among others,
defendant General Reinsurance Corporation (“Gen Re”), a Delaware corporation doing business in
Virginia. TRG is a Virginia non-stock corporation that Was created to Serve as attorney-in-fact for
ROA. Frorn its inception, ROA entered into a reinsurance arrangement With Gen Re, Whereby ROA

ceded to Gen Re a portion of ROA’s risk under ROA’s direct insurance policies. (Compl. at 11 71 .)

 

lW.D. Tenn. Civ. R. 7.2(a)(2)(allowingthi1“ty days for non-movant to respond); E.D. Va.
Loc. Civ. R. 7(F)(1) (allowing eleven days for non~movan.t to respond).

This document entered on the dockeé,sheet |n compliance
with auie ss and/or rsta) FRcP on '§ -“OS"

Case 2:04-md-01551-.]DB-tmp Document 161 Filed 08/02/05 Page 2 of 11 Page|D 111

Plaintiff’s causes of action in this case include Civil RICO claims, founded upon 18 U.S.C.
1 961 , et. seq. The Plainti ff alleges that non-party First Virginia Reinsurance (“FVR”), incorporated
in Bennuda, was “to serve as a reinsurer of all of ROA's retained share of risk on the physician and
lawyer business.” (Compl. at 11 76.) ln addition, a director at ROA “devised the use of FVR as
means to hold profits from ROA’s retained business (for use as surplus to policyholders) while
temporarily shelterin g ROA's physician and lawyer subscribers from taxation on those profits,” and
that certain of the Defendants referred to FVR as “Gen Re II” or “GRZ." (Compl. at 11 76.) Plaintiff
further alleges that FVR was originally owned 25% by ROA and 75% by 32 Virginia hospitals or
health care systems, and that ROA’s ownership interest was purchased in 1989 by the hospital
owners in an effort by certain of the Defendants to avoid being subjected to additional regulation
pursuant to Virginia law by removing the connection between ROA and FVR. (Compl. at 11 77.)

The Commissioner alleges that ASL is a Berrnuda corporation with its principal place of
business in Hamilton, Bennuda; that ASL was the managing agent for FVR; and that Witkowski was
an ASL principal/employee involved in the management of FVR. lt is claimed that Witkowski and
ASL were complicit and cooperative in schemes involving undisclosed insurance rebates, sham
reinsure agreements involving no substantial transfer of risk, among other fraudulent practices.
(Compl. at 11 l 19.) The implementation of these schemes, according to the Plaintiff, involved the
use of wire and mail communications (Compl. at 11 115.) With the “knowledge and/or active
assistance and/or negligent acquiescence” of ASL, Witkowski, and others, millions were diverted
from FVR accounts and tmsts, including a $3 million transfer to an FVR account, which was in fact
used to pay amounts owed by ROA to Defendant Wachovia Bank. (Compl. at 1111 339-340.)

I_n cases transferred from one federal j udicial district to another pursuant to the federal change

Case 2:04-md-01551-.]DB-tmp Document 161 Filed 08/02/05 Page 3 of 11 Page|D 112

of venue statute the transferee court shall “apply the law of the transferor court, regardless of who
initiates the transfer.” Ferens v. John Deere Co., 494 U.S. 516, 110 S.Ct. 1274, 108 L.Ed.2d 443
(1990), §e_e also. Van Dusen v. Barrack, 376 U.S. 612, 84 S.Ct. 805, 11 L.Ed.Zd 945 (1964). This
same principle has been traditionally followed in cases consolidated by the multidistrict panel
pursuant to the provisions of 28 U.S.C. §§ 1407. In re San Juan Dupont Plaza Hotel F irc Litigation,
745 F. Supp. 79, 81 (D. Puerto Rico,1990); §§ also ln re Air Crash Disaster Near Chi<&go` lll. on
May 25, 1979, 644 F.2d 594 (7th Cir. 1981); In re Air Crash Disaster at Washington_ D.C. on Januarv

13 1982 559 F. Supp. 333 (D.D.C.1983). Therefore, as this case was originally filed in the United

 

States District Court for the Eastern District of Virginia, Virginia law governs in this matter.

Federal Rule of Civil Proccdure 12(b)(2) permits the Court to dismiss a complaint for “lacl<
of jurisdiction over the person.” Where a federal court's subject matter jurisdiction over a case is
based on the existence of a federal question, as it is here, personal jurisdiction should be grounded
in state long-ann jurisdiction statutes w Combs v. Bakker, 886 F.2d 673, 675 (4th Cir.1989)
(citing Fed. R. Civ. P. 4(c)(2)(C)(i), (e)); g also ex rel. Long v. Alexander & Alexander Services.
l_nc_., 680 F.Supp. 746 (EDNC 1988). A federal court may exercise personal jurisdiction over a
defendant in the manner provided by state law. §§ ESAB Group` lnc. v. Centricut. lnc., 126 F.3d
6l 7, 622 (4th Cir. 1997).

The Virginia long-arm statute, Va. Code Ann. § 8.01-328.1(A)(7), “extends personal
jurisdiction to the extent permitted by the Due Process Clause.” Youn,ar v. New Haven Advocate, 315
F. 3d 256, 261 (4"‘ Cir. 2002). In order to exercise jurisdiction consistently with due process
requirements, “a defendant .. must have ‘certain minimum contacts with [the forum state] such that

the maintenance of the suit does not offend traditional notions of fair play and substantial justice. ”’

Case 2:04-md-01551-.]DB-tmp Document 161 Filed 08/02/05 Page 4 of 11 Page|D 113

Mitrano v. l-lawes, 377 F.3d 402, 406 (quoting lnt’l Shoe Co. v. Washington, 326 U.S. 310, 316,
66 S. Ct. 154, 90 L. Ed. 95 (1945)).
General jurisdiction involves the exercise of personal jurisdiction over a defendant in an

action which does not arise out of a defendant's contact with the forum. Heliconteros Nacionales de

Colombia S.A. v. Hall, 466 U.S. 408, 414 n.9, 104 S.Ct. 1868, 80 L.Ed.2d 404 (1984). ln such a

 

case, the defendant's contacts with the forum must be “continuous and systematic” in order to satisfy
the due process clause. Federal lns. Co. v. Lake Shore lnc., 886 F.2d 654, 660 (4th Cir.l989). By
contrast, the Fourth Circuit has stated that “[t]he standard for determining whether a court may
exercise [specific] personal jurisdiction over a nonresident defendant depends on whether the
defendant’s contacts with the forum state provide the basis for the suit,” M)_ 377 F.3d at 406-7.
lfso, the contacts may establish specific jurisdiction § (citing Helicopteros, 466 U.S. 408, 104 S.
Ct. 1868, 80 L. Ed.2d 404).

ln ALS Scan` lnc. v. Digital Serv. Consultants, lnc.. 293 F.3d 707, 712 (4th Cir. 2002), the
Fourth Circuit set out a three»part test for determining the appropriateness of a federal court’s
exercise of specific jurisdiction: “(1) the extent to which the defendant purposefully availed itself
of the privilege of conducting activities in the State; (2) whether the plaintiffs’ claims arise out of
those activities directed at the State; and (3) whether the exercise of personal jurisdiction Would be
constitutionally reasonable.” Further, a defendant should be able to anticipate being sued in a court
that can exercise personal jurisdiction over him; thus, to justify such an exercise of jurisdiction, a
defendant’s actions must have been “directed at the forum state in more than a random, fortuitous,
or attenuated way.” ESAB Group. lnc. v. Cetnricut, lnc.. 126 F.3d 617, 625 (4th Cir. 1997).

The factor of purposeful availment “rests on the basic premise that traditional notions of fair

Case 2:04-md-01551-.]DB-tmp Document 161 Filed 08/02/05 Page 5 of 11 Page|D 114

play and substantial justice are offended by requiring a non-resident to defend itself in a forum when
the non-resident never purposefully availed itself of the privilege of conducting activities within the
forum, thus never invoking the benefits and protections of its laws.” F oster v. Arlettv 3 S.A.R.L.,
278 F.3d 409, 415 (4th Cir. 2002) (citing Hanson v. Denckla, 357 U.S. 235, 253, 78 S. Ct. 1228, 2
L. Ed. 2d. 1283 (1958)).

With respect to the reasonableness element where a defendant is outside the United States,
the Supreme Court has cautioned that “[t]he unique burdens placed upon one who must defend
oneself in a foreign legal system should have significant weight in assessing the reasonableness of
stretching the long ann of personal jurisdiction over national borders.” Asahi Metal lndus. Co._ Ltd.
v. Superior Court ofCal., 480 U.S. 102, 114, 107 S. Ct. 1026, 1033, 94 L. Ed.2d 92 (1987). “Great
care and reserve should be exercised when extending out notions of personal jurisdiction into the

international field.” Asahi Metal lndus. Co. 480 U.S. at 115, 107 S.Ct. at 1034 (quoting United

 

States v. First Nat‘l Citv Banl<, 379 U.S. 378, 404, 85 S. Ct. 528, 542, 13 L. Ed.2d 365 (1965)
(Harlan, J., dissenting)). Whether the exercise of personal jurisdiction over a foreign defendant is
"reasonable" requires a balancing of the following factors: the burden on the defendant, the interests
of the forum State, and the plaintiffs interest in obtaining relief.” Asahi Metal lndus. Co., 480 U.S.
at 113, 107 S. Ct. 1026, But, “[w]hen minimum contacts have been established, often the interests
of the plaintiff and the forum in the exercise of jurisdiction Will justify even the serious burdens
placed on the alien defendant.” § at 114, 107 S. Ct. 1026.

As the Defendants have challenged the Court's jurisdiction over this matter, the burden of
establishing the existence of personal jurisdiction lies with the Plaintiff. §§ Carefirst of Mar_vland,

lnc. v. Carefirst Pregnancv Centers, lnc., 334 F.3d 390, 396 (4th Cir. 2003); g a_lsg Mylan Labs.,

Case 2:04-md-01551-.]DB-tmp Document 161 Filed 08/02/05 Page 6 of 11 Page|D 115

lnc. v. Akzo N.V. 2 F.3d 56, 59-60 (4th Cir.1993)). ln the absence ofan evidentiary hearing on the

 

question, a plai ntiff need onlyrnal<e a prima facie showing of personal jurisdiction lg (citing Combs

v. Bakker 886 F.2d 673, 676 (4th Cir.] 989)). ln deciding whether a plaintiff has made the requisite

 

showing, the court must take all disputed facts and reasonable inferences in favor of the plaintiff W
l\/lylan Labs., 2 F.3d at 60.

ln support of his motion to dismiss, Witkowski, who identifies himself as a citizen of New
Zealand, but who is currently a permanent resident of Berrnuda (W Richard Witkowski's Mot. for
Dismissal for Lacl< of Personal Jurisdiction, Ex. 1 (Decl. of Richard Witkowski ("Witkowski
Decl.")) at 11 2), and the senior vice president and a director of ASL (Ye_ Witkowski Decl. at 11 3),
maintains that he has visited Virginia only four times spending a total of two weeks in that state (_s@
Witkowski Decl. at 11 8). He further states that one of the four visits was in order to undergo a
medical procedure and a second was for vacation (M Witkowski Decl. at 11 9). With respect to ASL,
Witkowski submits that "[a]ll meetings of ASL's Board of Directors have been held outside the
United States of America[ ;] [a]ll directors are residents of Berrnuda and are not citizens or residents
of the U.S.A.[;] ASL has no offices, employees outside of Bermuda[;] ASL has no assets outside of
Bermuda[;] ASL manages captive insurance companies registered in Bermuda[; and] [n]one of the
companies ASL manages is licensed in Virginia or organized under its laws. " (s§_e Witkowski Decl.
at 1111 4-7 ). l-lowever, Witkowsl<i admits that his other two visits to Virginia were made in his
capacity as a member of the management team of FVR (B Witl<owski Decl. attachment, deposition
of Richard Witkowski given in case of Crenshaw Communitv Hosn. et. al, v. General Reinsurance
Cor_p., et al., 2:03-cv-02696, currently pending in this court). According to the deposition, pages 39-

44 and l 11-113, Witkowski traveled to Richrnond, Virginia, to meet with employees of ROA’s

Case 2:04-md-01551-.]DB-tmp Document 161 Filed 08/02/05 Page 7 of 11 Page|D 116

accounting department in order to discuss problems with reconciliation of accounting information
that ROA provided to its reinsurer Gen Re, which in turn passed it on to its reinsurer, FVR.

ln Diamond Healthcare of Ohio. lnc. v. Humilitv of Marv Health Partners. et al., 229 F.3d
448 (4‘h Cir. 2000), the court granted the defendant’s motion to dismiss for lack of personal
juri sdiction, noting insufficient contact with the forum state and a more appropriate forum elsewhere
Diamond Healthcare of Ohio, 229 F.3d at 45 0. The defendants had not conducted business in the
forum state of Virginia, owned no property in Virginia, had not solicited business in Virginia, had
no employees visit Virginia on its behalf to conduct business, and had no Virginia patients. g at
45 0-5 1. The only potential basis for personal jurisdiction over the defendants was in the contractual
relationship between the parties. L at 451. That relationship had been initiated by the plaintiff, a
Virginia corporation, in the state of Ohio; negotiations had taken place in Ohio; and the parties
included a provision that the contract would be governed under Ohio law. I_d_.

ln Ratliffv. Cooner Laboraton'es. lnc., 444 F.2d 745 (4th Cir. ]971) the Fourth Circuit held
that even where a defendant advertises and employs a salesman in a forum state, such contacts may

not be sufficient to justify general jurisdiction Ratliff, 444 F.2d at 748. Ratliff involved an action

 

brought by a non-resident plaintiff against a drug company whose only activities in the forum state
were to employ five salesmen who promoted their products. l_c_l_. lt was significant in the court’s
analysis that none of the plaintiffs were residents of the forum state and that the cause of action arose
outside the forum state. ch The court followed Ratliff in Nichols v. G.D. Searle & Co., 991 F.2d
1195 (4"‘ Cir. 1993), holding that a Maryland court could not assert general jurisdiction over a
company that, among other contacts with Maryland, employed its residents and held meetings in

Maryland annually, where the plaintiff was not a resident of Maryland and where Maryland was a

Case 2:04-md-01551-.]DB-tmp Document 161 Filed 08/02/05 Page 8 of 11 Page|D 117
less appropriate forum than the home state of the defendant or that of any of the plaintiffs . M,
991 F.2d at 1200.

However, in Lee v, Walworth Valve Co., 482 F.2d 297 (4‘h Cir. 1973), the court found
jurisdiction to be proper, relying heavily on the grounds that, first, the forum state had an interest in
the case because the plaintiff was a resident, and second, the forum state was as appropriate a forum
as any other state because the cause of action arose in Cuba. E, 482 F.2d at 299. The @
defendant maintained no place of business in the state, owned no property and had no bank accounts
there. Li at 298. The defendant had no resident salesman or other agent in the state, but salesmen
headquartered elsewhere did, with some regularity, ca11 upon customers in the state, and occasionally
sent engineers to the state to handle engineering problems Ld. at 299. Despite the fact that the cause
of action did not arise from the defendant’s activity in the state, it was pertinent that it did not arise
in any other state whose courts might provide a more likely forum. ld_. Further, the court found that
the forum state had a substantial interest in the resolution of the case, due to both its paternal interest
in the recovery by one of its citizens, and an immediate interest in the plaintiff’ s recovery given that,
if deprived thereof, the plaintiff might become a public charge. § at 300.

ln the case at bar, the forum state of Virginia clearly has a significant interest in the resolution
of this dispute, and the plaintiffs are Virginia residents. Further, there is no other state that would
clearly be a more appropriate forum. However, the movants did not solicit business, advertise, or
have other contact with the forum state, and had no direct contractual relationship with the plaintiff
Therefore, the only potential basis for jurisdiction is premised upon Witkowski’s two visits to
Virginia to resolve accounting issues with ROA’s accounting department, which simply are not
sufficient to establish general or specific jurisdiction in this forum. §_te_e Diamond Healthcare of

Ohio, 229 F .3d at 452-53, (holding that where the only contact with the forum state by the defendant

Case 2:04-md-01551-.]DB-tmp Document 161 Filed 08/02/05 Page 9 of 11 Page|D 118

was a contract with plaintiff, which resulted from the unilateral action of the plaintiff in contacting
the defendant, the contact was not sufficient to establish general jurisdiction) ,- B Base Metal
Trading, Ltd. v. OJSC “Novokuznetsky Aluminum Factorv”, 283 F.3d 208, 214 (4th Cir.2002)
(holding that where the cause of action did not arise from the defendant’s contact with the forum
state, there was no specific personal j urisdiction; likewise, a single shipment made to the forum state
was not continuous and systematic contact sufficient to establish general jurisdiction). Accordingly,
the motion to dismiss of Witkowski and ASL is GRANTED.

rr is so oRDERED this L.Qv day OrAuguSt 2005.

adea

UNIEL BREEN
UED STATES DISTRICT\ JUDGE

     

UNIT 'D sATEs DISTRCTI CTOUR - wE'r\iSERDIST'RI oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 161 in
case 2:04-CV-01551 was distributed by fax, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

.lere L. Beasley

BEASLEY ALLEN CROW h/IETHVIN PORTlS & MILES
P.O. Box 4 1 60

l\/lontgomery7 AL 36103--416

B. .l. Wade

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

l\/lemphis7 TN 38103

Patrick H. Cantilo

CANTILO & BENNETT LLP

7501-C North Capital Of Texas Highvvay
Ste. 200

Austin7 TX 78731

Robert G. Methvin
MCCALLUM & l\/IETHVIN, PC
2201 Arlington Ave., S.
Birmingham, AL 35205

.lonathan P. Lakey
PIETRANGELO COOK
64 1 0 Poplar

Ste. 190

l\/lemphis7 TN 38119

.lef Feibelman

BURCH PORTER & .lOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

William H. Farmer
FARMER & LUNA
333 Union St.

Ste. 300

Nashville, TN 37201

Case 2:O4-md-01551-.]DB-tmp Document 161 Filed 08/02/05 Page 11 of 11 Page|D 120

Honorable .l. Breen
US DlSTRlCT COURT

